Case 20-10553-CTG   Doc 1592-2   Filed 08/23/23   Page 1 of 3




                    PROPOSED ORDER
                 Case 20-10553-CTG              Doc 1592-2         Filed 08/23/23         Page 2 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               OF THE DISTRICT OF DELAWARE


In re:                                                        Chapter 7

Start Man Furniture LLC (f/k/a Art Van                        Case No. 20-10553 (CTG)
Furniture, LLC), et al.,1                                     (Jointly Administered)

                              Debtors.                        Re: D.I. ___


       ORDER APPROVING FIRST INTERIM (CONTINGENT FEE MATTERS)
    APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
     OF ARCHER & GREINER, P.C., AS SPECIAL COUNSEL TO THE CHAPTER 7
       TRUSTEE, FOR THE PERIOD MARCH 1, 2022 TO SEPTEMBER 14, 2023


           Upon consideration of the First Interim (Contingent Fee Matters) Application for

Compensation and Reimbursement of Expenses of Archer & Greiner, P.C., as Special Counsel to

the Chapter 7 Trustee, for the Period March 1, 2022 to September 14, 2023 (the “Application”)2

pursuant to Section 330(a) and 331 of Title 11 of the United States Code and Rule 2016 of the

Federal Rules of Bankruptcy Procedure, for allowance of compensation and reimbursement of

expenses for the period from March 1, 2022 to September 14, 2023; and the Court having reviewed

the Application; and the Court finding that: (a) the Court has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; (b) notice of the Application, and any hearing thereon, was adequate




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
Start Man Furniture, LLC (f/k/a Art Van Furniture, LLC) (9205); SVF Holding Company, Inc. (f/k/a AVF Holding
Company, Inc.) (0291); SVCE, LLC (f/k/a AVCE, LLC) (2509); StartVF Holdings I, LLC (f/k/a AVF Holdings I,
LLC) (2537); StartVF Holdings II, LLC (f/k/a AVF Holdings II, LLC) (7472); SVF Parent, LLC (f/k/a AVF Parent,
LLC) (3451); Levin Parent, LLC (8052); Start Man Furniture of Canada, LLC (f/k/a Art Van Furniture of Canada,
LLC) (9491); SV Sleep Franchising, LLC (f/k/a AV Pure Sleep Franchising, LLC) (8968); SVF Franchising, LLC
(f/k/a AVF Franchising, LLC) (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC
(4463).

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    Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Application.
            Case 20-10553-CTG         Doc 1592-2     Filed 08/23/23      Page 3 of 3




under the circumstances; and (c) all persons with standing have been afforded the opportunity to

be heard on the Application; and after due deliberation and for other and good cause,

       IT IS HEREBY ORDERED THAT:

       1.      The Application is granted on an interim basis.

       2.      Archer & Greiner, P.C. is allowed compensation in the amount of $2,607,245.50

for the Litigation Services rendered and costs related to the same in the amount of $2,397.97 for

the Application Period.

       3.      Payment may be made by the Trustee to Archer & Greiner of 100% of any and all

fees and 100% of any and all expenses allowed herein by wire transfer.




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